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   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
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  11    DAQUAN ELI TRIBBLE,                     Case No. 5:19-cv-02045-FMO (MAA)
  12                      Plaintiff,
              v.                                JUDGMENT
  13

  14    E. WEST et al.,
  15                      Defendants.
  16

  17         Pursuant to the Order Accepting Findings and Recommendations of
  18   United States Magistrate Judge,
  19         IT IS ADJUDGED that the entire action is dismissed without prejudice.
  20

  21   DATED:
  22
       November 6, 2020                    ________________/s/__________________
  23                                               FERNANDO M. OLGUIN
                                            UNITED STATES DISTRICT JUDGE
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